   23-03004-cgb Doc#139-25 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 25. Order
                        Granting Motion to Withdraw Pg 1 of 2
EXHIBIT 25 - ORDER GRANTING
MOTION TO WITHDRAW (DKT. 283)




   The relief described hereinbelow is SO ORDERED.



   Signed August 22, 2023.

                                                          __________________________________
                                                                 H. CHRISTOPHER MOTT
                                                          UNITED STATES BANKRUPTCY JUDGE
   ________________________________________________________________



                              UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

     IN RE:                                         §
                                                    §
     PDG PRESTIGE, INC.,                            §                  Case No. 21-30107
                                                    §
     Debtor.                                        §
                                                    §

           ORDER GRANTING MOTION OF WEYCER, KAPLAN, PULASKI &
           ZUBER, P.C. TO WITHDRAW AS COUNSEL FOR DEBTOR (RE:
           DOCKET NO. 277

            On this day the Court considered the Motion of Weycer, Kaplan, Pulaski & Zuber, P.C. to
    Withdraw as Counsel for Debtor (Docket No. 277) (the “Motion”) filed herein on July 17, 2023
    by Weycer, Kaplan, Pulaski & Zuber, P.C. The Court finds and concludes that the Motion
    contained the appropriate notices under the Bankruptcy Local Rules; according to the certificate
    of service attached to the Motion, the Motion was served upon the parties entitled to receive
    notice under the Bankruptcy Local Rules; no party in interest filed a response or objection to the
    Motion or any such response or objection is overruled by this Order; and that upon review of the
    record of this case and with respect to the Motion that cause exists to grant the relief requested
    therein.

    IT IS THEREFORE ORDERED THAT:

           1.      The Motion is granted as set forth herein.



    ORDER GRANTING MOTION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C., P.C.
    TO WITHDRAW AS COUNSEL FOR DEBTOR — Page 1                                            2360229.DOCX [5]
23-03004-cgb Doc#139-25 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 25. Order
                     Granting Motion to Withdraw Pg 2 of 2



      2.     All capitalized terms shall have the same meaning as ascribed to such terms in the
             Motion, unless otherwise defined herein.

      3.     Weycer, Kaplan, Pulaski & Zuber, P.C. and Jeff Carruth are hereby withdrawn as
             counsel for PDG Prestige Inc.

                                            ###
Submitted by:
Jeff Carruth (TX SBN: 24001846)
WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
2608 Hibernia, Suite 105
Dallas, TX 75204-2514
Telephone: (713) 341-1158
Fax: (713) 961-5341
E-mail: jcarruth@wkpz.com

PROPOSED FORMER ATTORNEYS FOR
PDG PRESTIGE INC.
DEBTOR




ORDER GRANTING MOTION OF WEYCER, KAPLAN, PULASKI & ZUBER, P.C., P.C.
TO WITHDRAW AS COUNSEL FOR DEBTOR — Page 2                                         2360229.DOCX [5]
